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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                   Plaintiff,                     )
                                                  )
           vs.                                    )          Case No. 4:15CR525 RLW
                                                  )
 DARIUS ROSE,                                     )
                                                  )
                   Defendant.                     )

                                 MEMORANDUM AND ORDER

        This matter is before the Court on the Order and Recommendation of United States

 Magistrate Judge David D. Noce (ECF No. 60). Defendant Rose filed an Oral Motion to

 Suppress (ECF No. 30) and Motion to Suppress Identification (ECF No. 50). The United States

 filed an oral motion for a determination by the Court of the admissibility of any arguably

 suppressible evidence. (ECF No. 31 ).

        Pursuant to 28 U.S.C. § 636(b), this matter was referred to United States Magistrate Judge

 Noce, who filed an Order and Recommendation on March 14, 2016. (ECF No. 60). Defendant

 Rose filed objections to the Order and Recommendation of the United States Magistrate Judge on

 March 28, 2016 (ECF No. 62). Defendant Rose summarily states that he objects to the findings of

 fact and several conclusions drawn by Magistrate Judge Noce, but fails to provide any

 countervailing rationale for his position. The Court finds that Defendant Rose's objections are

 not persuasive.

        The Magistrate Judge recommends that the motions of Defendant Rose to suppress

 evidence and to suppress identification evidence (ECF Nos. 30, 50) be denied. The Magistrate

 Judge also recommends that the motion of the United States for a determination by the Court of the
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 admissibility of arguably suppressible evidence (ECF No 31) be denied as moot. After de novo

review of this matter, this Court adopts the Magistrate Judge's recommendations.

         Accordingly,

         IT IS HEREBY ORDERED that the Order and Recommendation of United States

 Magistrate (ECF No. 60) is SUSTAINED, ADOPTED, AND INCORPORATED herein.

         IT IS FURTHER ORDERED that Defendant's Oral Motion to Suppress (ECF No. 30)

 and Motion to Suppress Identification (ECF No. 50) are DENIED.

         IT IS FINALLY ORDERED that the United States' oral motion for a determination by

the Court of the admissibility of any arguably suppressible evidence (ECF No. 31) is DENIED as

 moot.



 Dated this 29th day of March, 2016.




                                             ~~~UNITED STATES DISTRICT JUDGE




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